Case 8-17-73796-reg Doc 13 Filed 08/27/18 Entered 08/27/18 14:54:00

 

Fill in this information to identify your case:

D€bf0r1 Michael J. Sweeney, Jr.

First Name Midd|e Name Lasl Name
Debtor 2
(Spouse ifr filing) Firsl Name I\/lidd|e Name Last Name

United States Bankruptcy Court for thei EASTERN D|STR|CT OF NEW YORK

§Case number 8_17-73796
jrirknown) l Check if this is an
amended filing

Officia| Form 106C
Schedule C: The Property You C|aim as Exempt 4/16

Be as complete and accurate as possible |f two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B.' Property (Official Form 106A/B) as your source, list the property that you claim as exempt. lf more space is
needed, fill out and attach to this page as many copies of Pan‘ 2.' Additiona/ Page as necessary. On the top of any additional pages, write your name
and case number (if known)

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. A|ternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefitsl and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amountl your exemption would be limited
to the applicable statutory amount.

m identify the Property You C|aim as Exempt
1. Which set of exemptions are you claiming? Check one on/y, even ifyour spouse is fi/r'ng with you.
. You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
l:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brlef description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
114 Kings Drive Riverhead, NY11901 $293 177 00 - $165,550 00 NYCPLR § 5206

, . .

Suffolk County
Line from Schedule A/B; 1.1 n 100% of fair market value, up to

any applicable statutory limit

2004 Chevro|et Silverado 80,000 $500_00 l $500.00 NYCPLR § 5205(a)(8)
miles

Not Running m 100% of fair market value, up to

Line from Schedule A/B: 3.1 any applicable statutory limit

1985 Chevro|et C-10 100,000+ miles $4,000_00 - $3,775_00 NYCPLR § 5205(a)(8)

Line from Schedule A/B: 3.2
m 100% of fair market value, up to
any applicable statutory limit

1985 Chevro|et C-10 100,000+ miles $4,000_00 - $225_00 NYCPLR § 5205(a)(8)
Line from Schedule A/B: 3.2
m 100% of fair market value, up to
any applicable statutory limit

Misc. Househo|d Goods and $1 000_00 - $1,000_00 NYCPLR § 5205(a)(5)
Furnishings ’
Line from Schedule A/B: 6.1 m 100% of fair market valuel up to

any applicable statutory limit

Official Form 1060 Schedule C: The Property You C|aim as Exempt page 1 of 2

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Debtor 1

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Mich_a§l J- Sweeney, Jr-

Brlef description of the property and line on
Schedule A/B that lists this property

Misc. Electronics
Line from Schedule A/B: 7.1

Misc. Wearing Apparel
Line from Schedu/e A/B: 11.1

Misc. Jewelry
Line from Schedule A/B: 12.1

Checking: Bank of America,
Riverhead, NV
Line from Schedu/e A/B: 17.2

Pension: New York State Pension
Line from Schedule A/B: 21 .1

Deferred Compensation
Line frorn Schedule A/B: 21.2

Employer based term life insurance
Line from Schedule A/B: 31.1

Current value of the
portion you own

Copy the value from
Schedule A/B

$350.00

$750.00

$500.00

$117.00

Unknown

$64,500.00

$0.00

Case number (if known)

Amount of the exemption you claim

Check only one box for each exemption

l $350.00

m 100% of fair market value, up to
any applicable statutory limit

l $750.00

|:! 100% of fair market value, up to
any applicable statutory limit

l $500.00

m 100% of fair market valuel up to
any applicable statutory limit

l $117.00

m 100% of fair market valuel up to
any applicable statutory limit

l $0.00

m 100% of fair market valuel up to
any applicable statutory limit

l $64,500.00

m 100% of fair market value, up to
any applicable statutory limit

l $0.00

m 100% of fair market value, up to
any applicable statutory limit

Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

l Yes. Did you acquire the property covered by the exemption within 1.215 days before you filed this case?

|:l No
. No
l:i Yes

8-17-73796

Speclfic laws that allow exemption

NYCPLR § 5205(a)(5)

NYCPLR § 5205(a)(5)

NYCPLR § 5205(a)(6)

NYCPLR § 5205(a)(9)

Debtor & Creditor Law §

282(2)(e)

Debtor & Creditor Law §
282(2)(e)

NY lns. Law § 3212

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Schedule C: The Property You C|aim as Exempt

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